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 1   DAVID A. TORRES AND ASSOCIATES
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 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (6610326-0857
     Fax: (661)326-0936
 4   Email: lawtorres@aol.com
 5
                           IN THE UNITED STATES DISTRICT COURT
 6
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 7

 8
                                                    ) Case No.: Case No.1:12-CR-00184AWI-BAM
     UNITED STATES OF AMERICA,                      )
 9
                                                    )
                   Plaintiff,                       ) STIPULATION AND ORDER TO
10
                                                    ) CONTINUE STATUS CONFERENCE
            vs.                                     )
11
                                                    )
     JOSE LUIS GARCIA VILLA,                        )
12
                                                    )
                   Defendant                        )
13
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
14
     BARBARA A. MCAULIFFE AND KAREN ESCOBAR, ASSISTANT UNITED STATES
15
     ATTORNEY:
16
            COMES NOW Defendant, JOSE LUIS GARCIA VILLA, by and through his attorney of
17
     record, DAVID A. TORRES hereby requesting that the Status Conference currently set for
18
     Monday, May 13, 2013 be continued to Monday June 3, 2013.
19
            I am scheduled to be out of the state from May 10, 2013 through May 15, 2013 to attend
20
     my daughters’ graduation. I have spoken to AUSA Karen Escobar, and she has no objection to
21
     continuing the Status Conference.
22
            The parties also agree the delays resulting from the continuance shall be excluded in the
23
     interest of justice pursuant to 18 USC 3161 (h)(8)(A) and 3161 (h)(8)(B)(1).
24
     //
25
     //




                                         Summary of Pleading - 1
          Case 1:12-cr-00184-DAD-BAM Document 51 Filed 05/09/13 Page 2 of 2


 1

 2              IT IS SO STIPULATED.

 3                                                                 Respectfully Submitted,

 4   DATED: May 9, 2013                                            /s/ David A Torres     ___
                                                                   DAVID A. TORRES
 5                                                                 Attorney for Defendant
                                                                   JOSE LUIS GARCIA VILLA
 6

 7
     DATED: May 9, 2013                                            /s/Karen Escobar ________
 8                                                                 KAREN ESCOBAR
                                                                   Assistant U.S. Attorney
 9

10

11

12
                                                      ORDER

13
           The Status Conference hearing be continued to June 3, 2013 – is hereby Ordered
14
     DENIED.
15

16
     IT IS SO ORDERED.
17

18      Dated:                   May 9, 2013                    /s/ Barbara A. McAuliffe        _
                                                           UNITED STATES MAGISTRATE JUDGE
19         DEAC_Signature-END:




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           10c20kb8554

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                                               Summary of Pleading - 2
